[Cite as State v. Monfort, 2024-Ohio-3126.]




                               IN THE COURT OF APPEALS OF OHIO
                                  SECOND APPELLATE DISTRICT
                                      CHAMPAIGN COUNTY

 STATE OF OHIO                                      :
                                                    :
       Appellee                                     :   C.A. No. 2023-CA-33
                                                    :
 v.                                                 :   Trial Court Case No. 2023 CR 139
                                                    :
 JAY ALEXANDER MONFORT                              :   (Criminal Appeal from Common Pleas
                                                    :   Court)
       Appellant                                    :
                                                    :

                                               ...........

                                               OPINION

                                      Rendered on August 16, 2024

                                               ...........

DAWN S. GARRETT, Attorney for Appellant

SAMANTHA B. WHETHERHOLT, Attorney for Appellee

                                              .............

WELBAUM, J.

        {¶ 1} Appellant Jay Alexander Monfort appeals from his convictions in the

Champaign County Court of Common Pleas after pleading guilty to one count of

aggravated possession of methamphetamine and one count of possession of cocaine.

In support of his appeal, Monfort argues that his guilty pleas were invalid because he did
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not realize the trial court could impose a sentence that exceeded the maximum

recommended prison term for his offenses, and the trial court imposed an additional 578

days in prison as a sanction for Monfort’s committing the offenses while on post-release

control. Monfort also claims that the portion of his sentence ordering him to serve the

578-day sanction is contrary to law. For the reasons outlined below, we disagree with

Monfort’s claims and will affirm the judgment of the trial court.



                           Facts and Course of Proceedings

        {¶ 2} On July 10, 2023, a Champaign County grand jury returned a four-count

indictment charging Monfort with two fifth-degree-felony counts of aggravated possession

of drugs (methamphetamine) and two fifth-degree-felony counts of possession of drugs

(fentanyl-related compound and cocaine). The charges stemmed from allegations that

a corrections officer from the Tri-County Regional Jail in Champaign County, Ohio,

discovered the drugs in Monfort’s underwear while Monfort was being held on a

misdemeanor theft charge.

        {¶ 3} After negotiating with the State, Monfort agreed to plead guilty to Counts One

and Four of the indictment, i.e., aggravated possession of methamphetamine and

possession of cocaine. In exchange for his guilty pleas, the State agreed to dismiss the

remaining two counts in the indictment and to recommend a 16-month prison term to be

served concurrently with a prison term that Monfort was serving out of Franklin County,

Ohio.

        {¶ 4} As part of the plea agreement, Monfort agreed to forfeit certain property and
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to pay court costs and court-appointed legal fees. The parties also jointly agreed to

waive a presentence investigation. In addition, the parties agreed that Monfort was

“subject to the imposition of 578 days of potential [post-release control] enhancement

time” since Monfort had committed his offenses while on post-release control. Plea

Hearing Tr. (Oct. 3, 2023), p. 3-4; Plea Agreement, p. 4. In support of the 578-day

calculation, the State presented State’s Exhibit 2, which showed that Monfort had been

ordered to serve 1,095 days of post-release control and had credit for 517 days served

(1095 – 517 = 578). Id. The State, however, did not recommend imposing any post-

release control enhancement time as part of Monfort’s sentence.

      {¶ 5} On October 3, 2023, the trial court held a plea hearing and accepted

Monfort’s guilty pleas to aggravated possession of methamphetamine and possession of

cocaine. Before doing so, the trial court engaged Monfort in a plea colloquy. During the

plea colloquy, the trial court explained, among other things, that each of Monfort’s

offenses were fifth-degree felonies that carried a maximum 12-month prison term and a

maximum $2,500 fine. The trial court told Monfort that “if you were to receive maximum

consecutive sentences, you could receive 24 months in prison and a $5,000 fine.” Plea

Hearing Tr. at 14. The trial court also advised Monfort that in addition to that sentence,

“the Court would have to decide at sentencing whether to impose any post-release control

enhancement penalty.” Id. The court explained that the “penalty can be a maximum of

the 578 days [he had left to serve on post-release control]” and “must * * * be served

consecutive to the underlying offenses.” Id.
      {¶ 6} After the plea hearing, the trial court immediately proceeded to sentencing
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Monfort. For each possession offense, the trial court imposed a $500 fine and a 12-

month prison term and ordered those sentences to be served concurrently to one another.

The trial court also imposed 578 days in prison as a sanction for committing his

possession offenses while on post-release control. Accordingly, the trial court imposed

an aggregate term of 12 months plus 578 days in prison and ordered that term to be

served concurrently with the sentence he was serving out of Franklin County.

       {¶ 7} Monfort now appeals from his conviction, raising a single assignment of error

for review.



                                   Assignment of Error

       {¶ 8} Under his sole assignment of error, Monfort contends that his guilty pleas to

aggravated possession of methamphetamine and possession of cocaine were invalid

because, at the time of the pleas, he did not realize the trial court could impose a sentence

that exceeded the maximum recommended prison term for those offenses. Monfort also

claims that the 578-day post-release control sanction imposed by the trial court at

sentencing is contrary to law.      The claims pertaining to Monfort’s guilty pleas and

sentence are addressed separately below.



                                        Guilty Pleas

       {¶ 9} When reviewing the validity of a defendant’s plea, “[a]n appellate court must

determine whether the record affirmatively demonstrates that [the] plea was knowing,

intelligent, and voluntary[.]”   State v. Russell, 2012-Ohio-6051, ¶ 7 (2d Dist.), citing
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Boykin v. Alabama, 395 U.S. 238, 243 (1969). “If a defendant’s plea is not knowing,

intelligent, and voluntary, it ‘has been obtained in violation of due process and is void.’ ”

State v. Carter, 2022-Ohio-206, ¶ 19 (2d Dist.), quoting Russell at ¶ 7. “In order for a

plea to be given knowingly, [intelligently,] and voluntarily, the trial court must follow the

mandates of Crim.R. 11(C).” State v. Brown, 2012-Ohio-199, ¶ 13 (2d Dist.). Pursuant

to Crim.R. 11(C), the trial court should not accept a defendant’s guilty plea to a felony

offense without first addressing the defendant personally and doing all of the following:

              (a) Determining that the defendant is making the plea voluntarily, with

       understanding of the nature of the charges and of the maximum penalty

       involved, and if applicable, that the defendant is not eligible for probation or

       for the imposition of community control sanctions at the sentencing hearing.

              (b) Informing the defendant of and determining that the defendant

       understands the effect of the plea of guilty or no contest, and that the court,

       upon acceptance of the plea, may proceed with judgment and sentence.

              (c) Informing the defendant and determining that the defendant

       understands that by the plea the defendant is waiving the rights to jury trial,

       to confront witnesses against him or her, to have compulsory process for

       obtaining witnesses in the defendant’s favor, and to require the state to

       prove the defendant’s guilt beyond a reasonable doubt at a trial at which the

       defendant cannot be compelled to testify against himself or herself.

Crim.R. 11(C)(2)(a)-(c).

       {¶ 10} A defendant is generally “not entitled to have his plea vacated unless he
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demonstrates he was prejudiced by a failure of the trial court to comply with the provisions

of Crim.R. 11(C).” State v. Dangler, 2020-Ohio-2765, ¶ 16, citing State v. Nero, 56 Ohio

St.3d 106, 108 (1990). There are, however, two circumstances where it is unnecessary

for a defendant to demonstrate prejudice to vacate his plea. The first is when the trial

court fails to explain the notifications under Crim.R. 11(C)(2)(c), i.e., the constitutional

rights that a defendant waives by pleading guilty or no contest. Id. at ¶ 14. The second

is when the trial court completely fails to comply with a portion of the nonconstitutional

notifications under Crim.R. 11(C)(2)(a) or (b).     Id. at ¶ 15.   “Aside from these two

exceptions, the traditional rule continues to apply: a defendant is not entitled to have his

plea vacated unless he demonstrates he was prejudiced by a failure of the trial court to

comply with the provisions of Crim.R. 11(C).” Id. at ¶ 16, citing Nero at 108. “The test

for prejudice is ‘whether the plea would have otherwise been made.’ ” Id., quoting Nero

at 108.

       {¶ 11} In this case, Monfort does not dispute that the trial court engaged him in a

plea colloquy and does not specifically allege that the trial court failed to give the

notifications required by Crim.R. 11(C). Instead, Monfort contends that his guilty pleas

were invalid because he “did not realize that the court could impose a sentence longer

than the maximum recommended for the underlying felonies.” It is unclear from this

argument whether Monfort is claiming that he did not realize the trial court could impose

a sentence that exceeded the 16-month prison term recommended by the State or the

24-month maximum prison term available for his two drug possession offenses.

Regardless, the record establishes that his sentence exceeded both, as the trial court
                                                                                            -7-


imposed a 12-month prison term plus 578 days in prison as a sanction for his committing

the offenses while on post-release control.

       {¶ 12} Under “R.C. 2929.141 . . . a defendant who commits a new felony offense

while on [post-release control] can be ordered by the trial court that is imposing [a]

sentence on the new felony offense to serve additional sanctions for violating [post-

release control] including a prison term.” State v. Cheek, 2022-Ohio-4736, ¶ 11 (2d

Dist.). “If a prison term is imposed for the [post-release control] violation, it ‘shall be the

greater of twelve months or the period of post-release control for the earlier felony minus

any time the person has spent under post-release control for the earlier felony.’ ” Id.,
quoting R.C. 2929.141(A)(1). The prison term for the post-release control violation “must

be served consecutively to the prison term imposed on the new felony.” Id., citing R.C.

2929.141(A)(1).

       {¶ 13} We note that Monfort does not dispute that he was on post-release control

when he committed his two drug possession offenses. He also does not dispute that he

had 578 days of post-release control remaining, i.e., 1095 days ordered minus 517 days

served. Instead, Monfort claims that he was unaware the sanction for violating post-

release control could be applied in a manner that would result in a sentence that exceeded

either the State’s recommended 16-month prison term or the 24-month maximum prison

term available for his drug possession offenses. Whichever claim Monfort meant to

argue, neither is supported by the record.

       {¶ 14} During the plea hearing, the trial court advised Monfort that, in addition to

the maximum possible 24-month prison term, the court could impose “any post-release
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control enhancement penalty.” Plea Hearing Tr. at 14. The trial court then explained

that such a penalty could “be a maximum of the 578 days” he had left to serve on post-

release control. Id. Thereafter, the trial court told Monfort that if it decided to impose a

post-release control penalty, it would “be served consecutive to the underlying offenses.”

Id. As a result, the trial court specifically advised Monfort that “the maximum penalty [he]

can get from this Court would be 24 months plus 578 days in prison.” Id. at 14-15. The

court later emphasized that fact by saying: “So when we’re talking maximum sentences,

worst case scenario, you could get 24 months plus 578 days[.]” Id. at 15. When the

trial court asked Monfort whether he understood the maximum prison sentence of 24

months plus 578 days, Monfort answered: “Yes, Your Honor, I do.” Id.

       {¶ 15} After discussing the maximum sentence, the trial court ensured that Monfort

had read and understood the plea form, which stated, in pertinent part, as follows:

       Post-Release Control Penalty

       As of the Plea Hearing, the Defendant is subject to five hundred

       seventy[-]eight (578) days of Post-Release Control Enhancement Penalty.

       The total number of penalty days shall be reduced proportionally “one for

       one” by each day up until the Defendant is sentenced on this case. State

       v. Evilsizor, 2d Dist. Champaign No. 2017-CA-01, 2017-CA-10, 2018-Ohio-

       3599. Any Post Release Control Enhancement Penalty so imposed shall

       be served consecutively to the underlying sentences in counts One and

       Four.

Pleas Agreement, p. 2. See also Plea Hearing Tr. at 24.
                                                                                          -9-


       {¶ 16} Based on all the foregoing portions of the record, it is clear that Monfort

understood the trial court could, as a sanction for committing his offenses while on post-

release control, impose an additional 578 days to the maximum allowable prison term for

his offenses. Therefore, Monfort’s claim that he did not realize his sentence could be

longer than either the 16-month prison term recommended by the State or the 24-month

maximum prison term for his offenses lacks merit.

       {¶ 17} Monfort also suggests that his guilty pleas were invalid because the trial

court imposed a longer prison sentence than what the State had recommended in the

plea agreement. It is, however, well established that “[a] trial court is not bound to accept

the State’s recommended sentence in a plea agreement.” State v. Downing, 2020-Ohio-

3984, ¶ 34 (2d Dist.), citing Akron v. Ragsdale, 61 Ohio App.2d 107, 109 (9th Dist. 1978).

Accord State v. Morris, 2023-Ohio-1765, ¶ 49 (2d Dist.); State v. Kenney, 2022-Ohio-

2977, ¶ 15 (6th Dist.). We have explained that “a trial court does not err in exceeding a

sentence recommended in a plea agreement where the defendant has been made aware

of the applicable penalties and the possibility of receiving a greater sentence than the

State proposed.” State v. Melson, 2023-Ohio-1231, ¶ 11 (2d Dist.), citing Downing at

¶ 34. (Other citation omitted.)

       {¶ 18} In this case, the record of the plea hearing establishes that Monfort knew

the trial court was not bound by the State’s recommended sentence. The trial court

asked Monfort: “Do you understand that the Court is not required to follow the sentencing

recommendation of the Prosecutor, your attorney, or yourself?” Plea Hearing Tr. at 16-

17. In response, Monfort answered: “Yes, Your Honor.”           Id. at 17.   The trial court
                                                                                            -10-


thereafter stated: “Just to be clear, the Court is free to impose any sentence that is

authorized by law. Do you understand that?” and Monfort once again answered: “Yes,

Your Honor.” Id.

       {¶ 19} Because the trial court advised Monfort at the plea hearing that it was not

required to impose the sentence recommended by the State and properly advised Monfort

of the maximum possible prison term it could impose at sentencing, Monfort’s claim that

his guilty plea was not knowingly, intelligently, and voluntarily entered lacks merit.




                                          Sentence

       {¶ 20} “[W]hen reviewing felony sentences, this court must apply the standard of

review set forth in R.C. 2953.08(G)(2).” State v. McCoy, 2024-Ohio-98, ¶ 24 (2d Dist.),

citing State v. Marcum, 2016-Ohio-1002, ¶ 7. “Under that statute, an appellate court may

increase, reduce, or modify a sentence, or it may vacate the sentence and remand for

resentencing, only if it clearly and convincingly finds either: (1) the record does not support

the sentencing court’s findings under certain enumerated statutes, or (2) the sentence is

otherwise contrary to law.”      Id., citing Marcum at ¶ 9, citing R.C. 2953.08(G)(2).

“ ‘[O]therwise contrary to law’ means “in violation of statute or legal regulations at a given

time.” ’ ” State v. Bryant, 2022-Ohio-1878, ¶ 22, quoting State v. Jones, 2020-Ohio-6729,

¶ 34, quoting Black’s Law Dictionary (6th Ed. 1990).

       {¶ 21} In this case, Monfort claims that the portion of his sentence ordering him to

serve 578 days in prison as a sanction for committing his offenses while on post-release
                                                                                          -11-


control is contrary to law. Monfort does not provide any legal authority supporting this

argument. Because Monfort’s sentencing argument does not involve any of the statutes

enumerated in R.C. 2953.08(G)(2), we must simply determine whether the 578-day

sanction for violating post-release control is contrary to law.

       {¶ 22} “A sentence for a post-release control violation is not contrary to law so long

as it comports with the requirements of R.C. 2929.141.” State v. Rosales, 2020-Ohio-

1646, ¶ 10 (2d Dist.), citing State v. Lehman, 2015-Ohio-1979, ¶ 17 (2d Dist.).           As

previously discussed, under “R.C. 2929.141 * * * a defendant who commits a new felony

offense while on [post-release control] can be ordered by the trial court that is imposing

[a] sentence on the new felony offense to serve additional sanctions for violating [post-

release control] including a prison term.” Cheek, 2022-Ohio-4736, at ¶ 11 (2d Dist.).

Section (A)(1) of the statute provides that “[t]he maximum prison term for the violation

shall be the greater of twelve months or the period of post-release control for the earlier

felony minus any time the person has spent under post-release control for the earlier

felony.” R.C. 2929.141(A)(1). The statute also provides that: “A prison term imposed

for the violation shall be served consecutively to any prison term imposed for the new

felony.” Id.
       {¶ 23} Again, Monfort does not dispute that he committed the drug possession

offenses in this case while he was on post-release control or that he had 578 days of

post-release control left to serve.    Upon review, we find that the trial court properly

imposed the sanction under R.C. 2929.141(A)(1) when it ordered Monfort to serve 578

days in prison consecutive to the 12-month prison term it imposed for Monfort’s offenses.
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Because the 578-day sanction complies with R.C. 2929.141(A)(1), Monfort’s claim that

the sanction is contrary to law lacks merit.

       {¶ 24} Because all of Monfort’s claims challenging his guilty pleas and sentence

lack merit, his sole assignment of error is overruled.



                                       Conclusion

       {¶ 25} The judgment of the trial court is affirmed.

                                      .............



TUCKER, J. and LEWIS, J., concur.
